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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

 SOUTH CAROLINA FREEDOM CAUCUS,
             Plaintiff,                                Civil Action No. 3:23-cv-00795-CMC
        v.
 WALLACE H. JORDAN, JR., J. DAVID WEEKS,               NOTICE OF FILING
 BETH E. BERNSTEIN, PAULA RAWL CALHOON,
 MICAJAH P. CASKEY, IV, NEAL A. COLLINS,
 JOHN RICHARD C. KING, ROBBY ROBBINS, J.
 TODD RUTHERFORD, AND LEONIDAS E.
 STAVRINAKIS, in their official capacities as
 members of the HOUSE OF REPRESENTATIVES
 LEGISLATIVE ETHICS COMMITTEE,
               Defendants.


       Plaintiff South Carolina Freedom Caucus hereby provides notice of service of the summons

and complaint in the above action on all Defendants, as reflected by the attached affidavits.


                                                   Respectfully submitted,


                                                   /s/ Christopher Mills

Gene P. Hamilton*                                 Christopher Mills (Fed. Bar No. 13432)
Reed D. Rubinstein*                               SPERO LAW LLC
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May 9, 2023
